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           EXHIBIT 28
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                                          OAKLAND INTERNATIONAL AIRPORT
                                             MONTHLY ACTIVITY REPORT
                                                 CALENDAR YEAR
                                                                 YEAR TO YEAR         CALENDAR YEAR-TO-DATE
                                     MAY 24         MAY 23         INC/DEC         2024         2023      INC/DEC
PASSENGER TOTALS
 ENPLANING                             487,063         495,889         -1.77%      2,197,854        2,214,384     -0.75%
 DEPLANING                             490,440         506,732         -3.20%      2,242,247        2,253,825     -0.51%
  TOTAL                                977,503       1,002,621         -2.49%      4,440,101        4,468,209     -0.63%

LANDED WEIGHTS (M lbs)
 PAX CARRIERS                          544,643         596,379         -8.68%      2,589,267        2,713,995     -4.60%
 CARGO CARRIERS                        260,846         272,996         -4.45%      1,263,999        1,378,958     -8.34%
  TOTAL                                805,489         869,375         -7.35%      3,853,266        4,092,953     -5.86%

AIRCRAFT MOVEMENTS                       17,406         19,481        -10.65%         88,779           89,050     -0.30%

AVIATION FUEL (GALS)
 GENERAL AVIATION                      722,109         666,412         8.36%       3,584,305        3,457,840     3.66%
 CONTRACT SALES                       8,299,861      8,301,074         -0.01%     38,989,814       40,359,964     -3.39%
  TOTAL                               9,021,970      8,967,486         0.61%      42,574,119       43,817,804     -2.84%

AIR MAIL (M lbs)
 MAIL IN                                    744           713          4.35%           1,872            3,832    -51.15%
 MAIL OUT                                   541            938        -42.32%          1,401            4,152    -66.26%
  TOTAL                                   1,285          1,651        -22.17%          3,273            7,984    -59.01%
FREIGHT (M lbs)
 FREIGHT IN                              46,410         46,369         0.09%         218,315          227,977     -4.24%
 FREIGHT OUT                             46,066         45,788         0.61%         216,270          215,410      0.40%
  TOTAL                                  92,476         92,157         0.35%         434,585          443,387     -1.99%
AIR MAIL & FREIGHT (M lbs)
 IN                                      47,154         47,082          0.15%        220,187          231,809     -5.01%
OUT                                      46,607         46,726         -0.25%        217,671          219,562     -0.86%
  TOTAL                                  93,761         93,808         -0.05%        437,858          451,371     -2.99%
CONCESSIONS
 SHOPS                               1,661,039       1,899,311        -37.13%       7,446,401        8,461,503   -37.77%
 RESTAURANT/BAR                      3,329,769       2,963,208         -2.27%      14,856,647       15,547,203    -0.15%
  TOTAL REVENUE ($)               $ 4,990,808     $ 4,862,519         -14.93%   $ 22,303,048     $ 24,008,706    -13.24%
CAR RENTALS REVENUE ($)           $ 4,711,548     $ 8,479,210         -44.43%   $ 28,690,864     $ 34,689,509    -17.29%
PARKING LOT
 DAILY EXITS                            29,313          31,293         -6.33%        140,673          142,043     -0.96%
 PREMIER LOT EXITS                       8,919           8,673          2.84%         41,687           40,587      2.71%
 HOURLY EXITS                           20,997          22,681         -7.42%        104,563          103,794      0.74%
 ECONOMY EXITS                         12,156           11,521          5.51%         53,525           50,850      5.26%
PARKING LOT REVENUE ($)             $3,381,670      $3,291,284          2.75%    $15,948,795      $14,986,859      6.42%
TNC ACTIVITY
 TNC TRIP COUNT                        148,297        139,424          6.36%         660,426          610,270     8.22%
TOTAL TNC REVENUE ($)                 $522,566       $515,868          1.30%      $2,331,225       $2,258,000     3.24%
BART CONNECTOR RIDERS
 TO AIRPORT                              21,623         20,416         5.91%          92,741           92,694     0.05%
 TO BART                                 19,345         17,721         9.16%          78,688           77,608     1.39%
ROLLING 12 MONTH PASSENGER TOTALS
MAY 1, 2023 THRU May 31, 2024                       11,210,967
MAY 1, 2022 THRU May 31, 2023                       11,629,123
                                                        -3.60%

 Prepared by Port of Oakland Finance Division
